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   8                          UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
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  11   WEBER-STEPHEN PRODUCTS                    Case No. EDCV 19-179-GW-KKx
       LLC,
  12
                           Plaintiff,
  13                                               ORDER TO DISMISS WITH
             v.                                    PREJUDICE
  14
       NEXGRILL INDUSTRIES, INC.,
  15
                           Defendant.
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             Based upon the Notice of Voluntary Dismissal [40], it is hereby ORDERED
  19
       that this action is dismissed with prejudice in its entirety. Each party will bear its
  20
       own attorneys’ fees and expenses.
  21
             IT IS SO ORDERED.
  22

  23
       Dated: June 27, 2019
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                                                _________________________________
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                                                HONORABLE GEORGE H. WU
  26                                            UNITED STATES DISTRICT JUDGE
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